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                             TN  THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF CONNECTICUT

LINITED STATES SECURITIES
AND EXCHANGE COMMISSION,

                          Plaintiff,                         CNIL ACTION NO. 3:15-cv-675 (JBA)

IFTIKAR A. AHMED

                          Defendant,

                          and

IFTIKAR ALI AHMED SOLE PROP., et al.,

                          Relief Defendants.                 SEPTEMBER        23 ,   2OI9


                         STATEMENT OF DANIEL G. JOHNSON
                  RE: SOURCE OF FUNDS FOR APPELLATE LEGAL FEES


         Daniel G. Johnson ("Johnson"), in his capacity as trustee of the Iftikar A. Ahmed Family

Trust (the "Trust") and the custodian of the UTMA accounts for the benefit of the three minor

children of Iftikar A. Ahmed and Shalini A. Ahmed (the "UTMA Accounts"),r states his position

concerning the potential for a partial liquidation of the assets held in the Trust or the UTMAs to

provide funds for appellate counsel fees for the Relief Defendants and/or for the Defendant. In

support of such objection, Johnson states as follows:

         1.      By order dated September 16,2019, (CM/ECF #1287) the Court granted Relief

Defendants' Motion for Funds for Appellate Counsel ("Relief Defendants' Motion"), authorizing

the release of up to $350,000 from the Receivership Estate subject to certain conditions, leaving


I   By order dated February 14,2019,the Court granted Johnson's and the SEC's Joint Motion to Withdraw Motion
    to Intervene, pursuant to which the SEC agreed not to "move to strike hlings that Mr. Johnson may make with
    respect to whether assets held in the name of the Trust and UTMA accounts should be liquidated or the
    consequences of such liquidation." CM/ECF #'s 1058 (motion), 1098 (order).
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to the Receiver the choice of which assets of the Receivership Estate should be used to pay such

fees.

            2.       In doing so, the Court ovemrled the SEC's objection to the Relief Defendants'

Motion (CM/ECF #1286). In the SEC's objection, however, the SEC urged that if the Court

granted the Relief Defendants' Motion, the funds for appellate counsel fees should be obtained

from TD Ameritrade account #'sx7666,X7674,x7686 or x7700 - - the Trust and the UTMA

accounts.

            3.       On September 17,2019, Defendant filed an Emergency Motion for a Ruling on

Defendant's Appellate Fees ("Defendant's Motion"), CM/ECF #1288, by which Defendant seeks

access to $500,000        for appellate legal fees. The Court set        a date   of September 23,2019 for

responses to Defendant's         Motion. Johnson anticipates the SEC will object to Defendant's

Motion and will urge that assets from the Trust and UTMA accounts be used to generate such

funds in the event Defendant's Motion is granted.

           4.       Johnson objects to the use of assets from the trust or the          UTMA accounts for the

appellate legal fees2 approved for the Relief Defendants' and sought by Defendant. Based on the

filings in this case it appears there are more than adequate assets in other accounts in the

Receivership Estate from which such fees may be paid without endangering the SEC's ability to

satisfy the judgment it has obtained, should the judgment be upheld on appeal.

           5.       Although the Court has found that the Trust and UTMAs are "nominees" for

Defendant, the assets in these accounts are not the product of Defendant's alleged fraud and have

been earmarked for the Defendant's and Ms. Ahmed's minor children.



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    As the Court requested responses on the issue of appellate fees, this Response only addresses the use of Trust
      and/or UTMA accounts for the payment of such appellate fees. Johnson opposes the use of the Trust and/or
      UGMA assets to pay any attorney fees in this matter and reserves all rights to state such opposition.
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           6.       The finding that the Trust and UTMAs are nominees for Defendant will be an

issue on the appeals from this Court's rulings.3 Pending a final appellate disposition of this issue,

the assets in these accounts should be left undisturbed for the benefit of the minor children.

           Dated this 23'd day of September,20lg.

                                                       DANIEL G. JOHNSON IN HIS CAPACITY
                                                       AS TRUSTEE OF THE IFTIKAR A. AHMED
                                                       FAMILY TRUST AND CUSTODIAN OF
                                                       THE UTMA ACCOUNTS

                                                       BY HIS ATTORNEYS
                                                       CUMMINGS & LOCKWOOD, LLC


                                                       By:     /s/ John F. Carbeny
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'   These assets have been the subject ofa previous inquiry by the Second Circuit and   will specifically be addressed
      (among other issues) in the Relief Defendants' appeal.
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                                      CERTIFICATE OF SERVICE


        I do hereby certify that on September 23,2019,    a copy of the foregoing   STATEMENT

OF DANIEL G. JOHNSON RE: SOURCE OF FUNDS FOR APPELLATE LEGAL FEES

was filed electronically. Notice of this filing will be sent by e-mail to all parties by operation   of

the Court's electronic filing system. Parties may access this filing through the Court's CM/ECF

System. a copy was also sent via email to:

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